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G. Thomas Martin, III, Esq. (SBN 2184 cr) Wv/ nein 1p oh O, ?
PRICE LAW GROUP, APC re . O IP \( oT GME LO PM 22
15760 Ventura Blvd., Suite 1100 = CLERK US. 2 pokey

Encino, CA 91436 CENT RAL o ®
T: (818) 907-2030; F: (818) 205-2730
tom@pricelawgroup.com sy samen tment en

  

Attorney for Plaintiff
MYRNA E. BAUM
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MYRNA BE. BAUM, an individual, Case no V i 4 ™ 0 O1 4 5 ~

Plaintiff, COMPLAINT AND DEMAND FOR
JURY TRIAL

 

VS.
(Unlawful Debt Collection Practices)

BUREAU OF COLLECTION RECOVERY, | Demand Does Not Exceed $10,000
LLC., a limited liability company; and DOES
1 to 10, inclusive,

 

 

Defendants.
COMPLAINT
INTRODUCTION
L. Myrna E. Baum (Plaintiff), an individual consumer, brings this action to secure

redress from unlawful credit collections practices engaged in by Bureau of Collection Recovery,
LLC (Defendant) for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692
(FDCPA), and violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (TCPA).
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COMPLAINT FOR. DAMAGES

 
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JURISDICTION

2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) which states that such
actions may be brought and heard before “any appropriate United States district court without
regard to the amount in controversy.” Declaratory relief is available pursuant to 28 U.S.C. §§
2201 and 2202.

3. Defendant conducts business in the State of California and therefore, personal
jurisdiction is established.

4, Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2) in that the
Defendant transacts business here.

PARTIES

5. Myrna E. Baum (Plaintiff) is an individual, residing in Simi Valley, Ventura
County, California 93065. Plaintiff is a natural person obligated or allegedly obligated to pay
any debt and is thus “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

6. Bureau of Collection Recovery, LLC (Defendant) registered under the laws of
the State of Minnesota, with its principal place of business located at: 7575 Corporate Way, —
Eden Prairie, Minnesota 55344. Defendant’s principal purpose is the collection of debts and
Defendant regularly collects or attempts to collect the debts owed or due or asserted to be owed
or due another. Defendant regularly uses the telephone and mail to engage in the business of
collecting debt in several states including California. Thus, Defendant is a ‘‘debt collector’’ as
defined by the FDCPA, 15 U.S.C. § 1692a(6).

7. The true names and capacities, whether individual, corporate, or in any other
form, of Defendants DOES 1 through 10, inclusive, and each of them, are unknown to Plaintiff,

who therefore sues them by such fictitious names. Plaintiff will seek leave to amend this

 

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COMPLAINT FOR DAMAGES
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Complaint to show the true names and capacities of DOES 1 through 10 should they be
discovered.
FACTUAL ALLEGATIONS

8. Within one year prior to the filing of this action, Defendant contacted Plaintiff in
the attempt to collect a debt originally held by AT&T Mobility (alleged debt) and identified as
account number ending in 0803. The alleged debt is an obligation or alleged obligation of a
consumer to pay money arising out of a transaction in which the money, property, insurance, or
services which are the subject of the transaction are primarily for personal, family, or household
purposes, whether or not such obligation has been reduced to judgment. Thus, the alleged debt is
a “debt” as defined by 15 U.S.C. § 1692a(5).

9. Within one year prior to the filing of this action, Defendant contacted Plaintiff by
mail and by telephone for the purpose of collecting the alleged debt.

10. Within one year prior to the filing of this action, Defendant repeatedly and
continuously called Plaintiff from telephone numbers (805) 290-1086 and (202) 607-2731 for the
purpose of collecting the alleged debt. Defendant caused Plaintiff's telephone to ring repeatedly
and with such frequency as to be unreasonable and to constitute harassment to Plaintiff under the
circumstances.

ti. The natural and probable consequences of Defendant’s conduct in constantly
calling Plaintiff was to willfully communicate with Plaintiff with such frequency as can
reasonably be expected to harass the debtor.

12. Upon information and belief, within one year prior to the filing of this action,
Defendant called Plaintiff multiple times using an artificial prerecorded voice or using equipment

which has the capacity to store or produce telephone numbers to be called, using random or

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COMPLAINT FOR DAMAGES

 
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Case 2:13-cv-00185-SJO-MAN Document1 Filed 01/10/13 Page4of9 Page ID#:9

sequential number generator and to dial such numbers, also known as an “automatic telephone
dialing system” as defined by TCPA 47 U.S.C. § 227(a)(1)(A) and (B).

13. Upon information and belief, Defendant did not receive Plaintiff's express
consent before using an artificial prerecorded voice or an automatic telephone dialing system to
contact Plaintiff.

14. Upon information and belief, Defendant did not have an emergency purpose
for contacting Plaintiff using an artificial prerecorded voice or an automatic telephone dialing
system.

15. | Defendant willfully or knowingly violated the TCPA.

16. As a result of the acts alleged above, Plaintiff suffered emotional distress.

17, Defendant’s illegal and abusive collection communications as described above
were the direct and proximate cause of severe emotional distress on the part of Plaintiff.

FIRST CLAIM FOR RELIEF
(Violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692)

18. Plaintiff incorporates herein by reference paragraphs 1 through 17, inclusive, as
though set forth in full herein.

19. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:

(a) Defendant violated §1692d of the FDCPA by engaging in conduct, the natural
consequence of which is to harass, oppress or abuse any person in connection with the collection
of the alleged debt; and

(b) Defendant violated §1692d(5) of the FDCPA by causing Plaintiff's phone to ring

or engaging Plaintiff in telephone conversations repeatedly; and

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COMPLAINT FOR DAMAGES

 
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{c) Defendant violated ¢1692f of the FDCPA by using unfair or unconscionable
means in connection with the collection of an alleged debt.

20.  Defendant’s acts as described above were done intentionally with the purpose of
coercing Plaintiff to pay the alleged debt.

21. As aresult of the foregoing violations of the FDCPA, Defendant is liable to
Plaintiff for declaratory judgment that Defendant’s conduct violated the FDCPA, actual
damages, statutory damages, and costs and attorney fees.

SECOND CLAIM FOR RELIEF
(Violation of the Telephone Consumer Protection Act, 47 US.C, § 227)

22. Plaintiff incorporates herein by reference paragraphs 1 through 21, inclusive, as
though set forth in full herein.

23. Defendant violated the TCPA. Defendant’s violations include, but are not limited
to, the following:

(a) Defendant violated § 227(b)(1)(B) by calling Plaintiff using an automatic
telephone dialing system or an artificial prerecorded voice to Plaintiff's residential telephone
line, without her express consent.

24. Asaresult of the foregoing violations of the TCPA, Defendant is liable to
Plaintiff for declaratory judgment that Defendant violated the TCPA, actual damages pursuant to
47 U.S.C. § 227, statutory damages in an amount up to five hundred dollars ($500.00) for each
violation of the TCPA pursuant to 47 U.S.C. § 227, and treble damages pursuant to 47 US.C. §
227,

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COMPLAINT FOR DAMAGES

 
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that judgment be entered against
Defendant for the following:

(a) Declaratory judgment that Defendant has violated the FDCPA and the TCPA; and

(b) _ Injunctive relief prohibiting Defendant from initiating further telephone calis to
Plaintiff in violation of the regulations prescribed under the TCPA; and

(c) Actual damages; and

(d) Statutory damages pursuant to 15 U.S.C. § 1692k; and

(e) Trebled statutory damages pursuant to 47 U.S.C. § 21(0)(5); and

(f) Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k;

(g) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
allowed under the law;

(h) For such other and further relief as the Court may deem just and proper.

DEMAND FOR JURY TRIAL

Please take notice that plaintiff, Myrna E. Baum, demands a trial by jury in this action.

Dated: January 8, 2013 RESPECTFULLY SUBMITTED,

 

 

G. Thomas Martin, I0
Attorney for Plaintiff

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COMPLAINT FOR DAMAGES

 

 
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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Central District of California

MYRNA E. BAUM, an individual

 

Plaintiff

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BUREAU OF COLLECTION RECOVERY, LLC.,a
limited fiability company; and DOES 7 to 10, inclusive

Defendant

Civil Action
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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
BUREAU OF COLLECTION RECOVERY, LLC., a limited liability company
7575 Corporate Way
Eden Prairie, Minnesota 55244

A lawsuit has been filed against you.

wa) after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a\(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: G. Thomas Martin, lll, Esq. (SBN 218456)

PRICE LAW GROUP, APC

15766 Ventura Bivd,, Suite 1700

Encino, CA 91436

T: (818) 907-2030; F: (866) 397-2030

fom@piglawfirm.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

JAN 10 2013

Date:

 
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UNETED STATES DISTRICT COURT, CENTRAL P T OF CALIFORNIA
CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself 1) DEFENDANTS

MYRNA E. BAUM, an individual BUREAU OF COLLECTION RECOVERY, LLC., a limited Hability company, a

corporation; and DOES / to 10, inclusive

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing
yourself, provide same, }
G. Thomas Martin, HE (SBN 218456)
PRICE LAW GROUP, APC
15760 Ventura Blvd., Suite 1100, Encino, CA 91436

Attorneys (If Known)

 

 

I. BASIS OF JURISDICTION (Place an X in one box only.} HE. CETIZENSHIP OF PRINCIPAL PARTIES ~ For Diversity Cases Only
: (Place an X in one box for plaintiff and one for defendant.)
11 U.S. Government Plaintiff 3 Federal Question (U.S. PTF DEF PIF DEF
Government Not a Party) Citizen of This State {11 1 Incorporated or Principal Place 014 O14
of Business in this State
(321.8. Government Defendant (14 Diversity (Indicate Citizenship | Citizen of Another State (12 32 Incorporated and Principal Place O5 O15
of Parties in Item ITE) of Business in Another State
Citizen or Subject of a Foreign Country 23 ©3 Foreign Nation M6 6

 

 

¥¥V. ORIGIN (Place an X in one box only.)

wi Original [12 Removed from 3 Remanded from (24 Reinstatedor O15 Transferred from another district (specify): £16 Multi C17 Appeal to District
Proceeding State Court Appeilate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT. JURY DEMAND: Yes DINo (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under RR.CP. 23; Yes No

if MONEY DEMANDED IN COMPLAINT: § according to proof

VL CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Unlawful Debt Collection Practices

VE. NATURE OF SUIT (Place an X in one box only.)

 
   

  

 

 

 

 

 
 

 

 

 

       
  
 
 
 
 
  
   
 
 

 

  
  

   
 
 

 
 
   

 

 

 

 

 

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(1430 Banks and Banking =‘ [2.130 Miller Act [3315 Airplane Product |) 370 Other Fraud Vacate Sentence |[1720 Labor/Mgmt.
(1450 Commerce/ICC (3140 Negotiable Instrument Liability (0371 Truth in Lending Habeas Corpus Relations
Rates/etc. [1150 Recovery of 3320 Assault, Libel & 13380 Other Personal General 10730 Labor/Mgt.
(2460 Deportation Overpayment & Slander , Death Penalty Reporting &
(3470 Racketeer Influenced Enforcement of [1330 abil Mandamus/ Disclosure Act
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{3810 Selective Service Veterans) £1355 Motor Vehicle (1423 Withdrawal 28 a ee ee
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Exchange Overpayment of 11360 Other Personal, «= [os RUE RIGHTISN: Other Food & — [7] 820 Copyrights
£1875 Customer Challenge 12 Veteran’s Benefits Injury 144i Voting Drug (2830 Patent
USC 3410 (7160 Stockholders’ Suits (1362 Personal Injury. [01 442 Employment (3625 Drug Related a 840 Trademark .
(1890 Other Statutory Actions [7190 Other Contract Med Malpractice [0 443 Housing/Acco- Seizure of SOCIAL Es
891 Agricultural Act 07195 Contract Product [1365 Personal Iniury- tamodations Property 21 USC JQ 86! HA (1395ff)
(9892 Economic Stabiization Liability Product Liability (444 Welfare B8t 1 862 Black Lung (923)
Act 196 Peers cous (1368 Asbestos Personal [11445 American with }€7 630 Liquor Laws 863 DIWC/DIWW
£893 Environmental Matters [less PROPER ee Injury Product Disabilities - |O640 RR. & Truck (405f2)}
£1894 Energy Allocation Act JO 210 Land Condennation Liabili Employment (650 Airline Regs 11 864 SSID Title XVI
[3895 Freedom of Info, Act [£3220 Foreclosure eceMroRRONR o a16 American with |{3660 Occupational |G $65, RSI (405(8)
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nation Under Equal [3240 Torts to Land Application Other (19690 Other o 870 Taxes (OS. Plaintiff
Access to Justice (1245 Tort Product Liability | 463 Habeas Cerpus- [440 Other Civil or Defendant)
(950 Constitutionality of (3290 All Other Real Property Alien Detainee | Rights £1871 IRS-Third Party 26
State Statutes 3465 Other Immigration USC 7609
Actions
t Jeane ortin, E,
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FOR OFFICE USE ONLY: Case Number: 5

 

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW,

 

CV-TI (05/08)

CIVIL COVER SHEET

Page 1 of 2
Case 2:13-cv-00185-SJO-MAN Document1 Filed 01/10/13 Page9of9 Page ID #:14

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

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VIU(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? to OY¥es
If yes, list case number(s):

 

VIE(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? WNo 0 Yes
If yes, list case number(s).

 

Civil cases are deemed related ifa previously filed case and the present case:
(Check all boxes that apply} 1A. Arise from the same or closely related transactions, happenings, or events, of
CB. Call for determination of the same or substantiaily related or similar questions of Jaw and fact; or
(QC. For other reasons would entail substantial dupfication of labor if heard by different judges, or
CD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b orc also is present.

 

TX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District; State if other than California, or Foreign Country, in which EACH named plaintiff resides.
{} Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b}.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Ventura

 

(b) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
[J _ Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District: * California County outside of this District; State, if other than California; or Foreign Country

 

Minnesota

 

 

 

 

(c) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land iavelved.

 

County in this District; * Califomia County outside of this District; State, if other than California; or Foreign Country

 

Ventura

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties

 

 

Note: In land condemnation cases, use the location of the tract of land involved i 1
X. SIGNATURE OF ATTORNEY (OR PRO PER): Oo Date U/ Ss /: 28 { 3

 

(Ff
Notice to Counsel/Parties: The CV-7] (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
of other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rute 3-1 fs not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA Alf claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C, 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Heaith and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 US. 405(g)}

863 DEWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended, (42 U.S.C. 405(2)}}

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI At claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (2)

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 0£2
